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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 22-mc-81229-JB

 In re: Application Pursuant to
 28 U.S.C.§ 1782 of

 FARHAD AZIMA

                 Petitioner,

 v.

 GLOBAL IMPACT SERVICES,
 EITAN ARUSY, and
 TRUIST FINANCIAL CORPORATION,

             Respondents.
 ______________________________________________/

                                    JOINT STATUS REPORT

        Pursuant to the Court’s Paperless Order on May 2, 2024, see ECF No. 22, Petitioner Farhad

 Azima (“Petitioner”) and Respondents Global Impact Services and Eitan Arusy (“Respondents”)

 submit this Joint Status Report.

        1.       On May 2, 2024, the Court ordered the parties to file a joint status report by

 Monday, May 13, 2024 regarding the status of the UK Proceeding, Farhad Azima -v- (1) RAKIA

 (2) David Neil Gerrard (3) Dechert LLP and (4) James Edward Deniston Buchanan (Claim

 Number: HC-2016-002798) pending in the High Court of Justice of England and Wales (the “UK

 Proceeding”).

        2.       On or about January 17, 2024, Mr. Azima settled the UK Proceeding with Dechert

 LLP and Neil Gerrard, but the case remained ongoing against James Buchanan and RAKIA.

        3.       On or about March 8, 2024, Mr. Azima settled the UK Proceeding with James

 Buchanan. That settlement was recorded in a March 11, 2024 order, which also confirmed that



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 Mr. Buchanan would not oppose Mr. Azima’s application seeking default judgment against

 RAKIA.

        4.    Mr. Azima applied for default judgment against RAKIA on March 19, 2024. On

 March 25, 2024, the UK Court issued an order granting Mr. Azima default judgment against

 RAKIA. RAKIA has not complied with the UK Court Order.

        5.    Accordingly, the Parties request that the Court dismiss the petition without

 prejudice.


 Dated: May 13, 2024                     Respectfully submitted,


                                         /s/ Vanessa Singh Johannes
                                         Vanessa Singh Johannes (FBN 1028744)
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2024, a true and correct copy of the foregoing document

 was filed via CM/ECF.



                                                    s/ Vanessa Singh Johannes
                                                     Vanessa S. Johannes




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